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19                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
20
       ANIBAL RODRIGUEZ, SAL                                        Case No.: 3:20-cv-04688-RS
21     CATALDO, JULIAN
       SANTIAGO, and SUSAN LYNN                                     PLAINTIFFS’ OPPOSITION TO
22
       HARVEY, individually and on behalf of all                    GOOGLE’S MOTION TO EXCLUDE
23     others similarly situated,                                   OPINION OF MICHAEL J. LASINSKI

24                      Plaintiffs,                                 The Honorable Richard Seeborg
        vs.                                                         Courtroom 3 – 17th Floor
25                                                                  Date: October 5, 2023
        GOOGLE LLC,                                                 Time: 1:30 P.M.
26
                 Defendant.
27

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1     I.      INTRODUCTION

2             Google has offered no basis to exclude Mr. Lasinski’s unjust enrichment and actual

3     damages opinions.1 For decades, Mr. Lasinski advised countless clients on asset valuation across

4     a range of industries, offered expert opinions in dozens of cases, and led professional organizations

5     focused on financial analysis. Dkt. 314-7 (“Lasinski Rep.”) ¶¶ 1-5. In this case, Mr. Lasinski

6     calculated (a) Google’s unjust enrichment from (s)WAA-off data and devices collected via Google

7     Analytics for Firebase (“GA4F”) and the Google Mobile Ads (“GMA”) SDK and (b) actual

8     damages from Google’s collection of that data. Id. §§ 7-8. Mr. Lasinski’s analysis uses financial

9     analyses developed by Google in the ordinary course of business, as well as Google’s actual,

10 payments for data. It is therefore unsurprising that Judge Gonzalez Rogers approved a similar

11 damages approach in Brown v. Google, 2022 WL 17961497, at *2-7 (N.D. Cal. Dec. 12, 2022).

12            Google offers no reason to reach a different result in this case. Google first argues that

13 Plaintiffs cannot seek disgorgement of profits, but the Ninth Circuit has clearly held otherwise. In

14 re Facebook, Inc. Internet Tracking Litig., 956 F.3d 589, 601 (9th Cir. 2020) (“This unauthorized

15 use of their information would entitle Plaintiffs to profits unjustly earned.”). Google then contends

16 that Mr. Lasinski failed to account for profits Google says it might have earned had it behaved

17 lawfully, overlooking that “[t]he presence or absence of but-for causation is not necessarily

18 determinative of unjust enrichment.” Uzyel v. Kadisha, 188 Cal. App. 4th 866, 894 (2010).

19 Regardless, Mr. Lasinski’s unjust enrichment models are “‘tied to the facts’ in the record,” and
20 Google fails to carry its burden to prove any appropriate deduction. BJB Elec. LP v. Bridgelux,

21 Inc., 2023 WL 4849764, at *4 (N.D. Cal. Jul. 28, 2023) (Seeborg, C.J.). Just as a thief cannot argue

22 a victim would have been willing to give away the stolen goods, Google cannot escape liability by

23 speculating that maybe class members would have given permission had Google asked.

24            Google’s criticisms of Mr. Lasinski’s actual damages methodology are equally flawed. Far

25 from a “finger in the wind,” Mot. 1, Mr. Lasinski applied an industry-accepted, market-based

26
      1
27   Google’s Motion exceeds the 25-page limit set by the Local Rules, in disregard of prior warnings
   that the Notice of Motion must be included in the page count. Dkt. 326 (“Mot.”); see Brown v.
28 Google LLC, 2021 WL 6064009, at *1 n.1 (N.D. Cal. Dec. 22, 2021).

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1     analysis and calculated damages using Google’s own real-world payments for mobile activity data.

2     Mot. 1; Lasinski Rep. § 8. Google pays study participants a uniform rate, regardless of their activity

3     level or views about privacy. Google’s arguments are contradicted by the law and its own records,

4     and in any event, could only go to weight, not admissibility. Alaska Rent-A-Car, Inc. v. Avis Budget

5     Grp., Inc., 738 F.3d 960, 969 (9th Cir. 2013). Google’s motion should be denied.

6     II.     BACKGROUND

7             A.       Mr. Lasinski is highly qualified to render expert opinions.

8             Mr. Lasinski is certified in public accounting, financial forensics, and licensing, with a

9     Bachelor of Science in Electrical Engineering and a Master of Business Administration from the

10 University of Michigan. Lasinski Rep. ¶ 5. His consulting practice has thrived for nearly 30 years,

11 during which he has provided valuation services to significant clients in a wide range of industries.

12 Id. ¶ 2. Mr. Lasinski specializes in valuing intangible assets across industries, and his past work

13 includes valuation of consumer data assets. Mao Ex. 1 (“Lasinski Tr.”) at 45:3-45:10. He has

14 offered expert opinions in more than 60 cases, involving industries as wide-ranging as insecticides,

15 network routing, and, yes, data privacy. Lasinski Rep. Appx. A at 4-12. He has served in a variety

16 of leadership roles in his field, including President of the Licensing Executives Society USA &

17 Canada, as well as Chair of its Valuation and Taxation Committee. Id. ¶ 3. Under any definition,

18 Mr. Lasinski is qualified. See Brown, 2022 WL 17961497, at *2 (finding Lasinski qualified).

19            B.       Mr. Lasinski calculates Google’s unjust enrichment from (s)WAA-off data.

20            Mr. Lasinski estimates profits Google earns from using (s)WAA-off app activity data in

21 two ways: (1) to track and attribute so-called “conversions” to Google-placed ads, and (2) to serve

22 ads and charge advertisers accordingly. Mr. Lasinski offered a separate model for each type of use.

23            Mr. Lasinski’s Scenario One model concerns profits from conversion tracking and

24 attribution. Lasinski Rep. § 7.1. Google is not just an ad broker: It actually purchases ad space

25 from publishers, then sells it to advertisers. Mao Ex. 2 at 3 (Google webpage explaining that “we

26 always pay publishers for their ad space”). Google’s ability to turn a profit depends on its ability

27 to collect more from advertisers than Google pays publishers for ad space. Id. (describing how

28 Google “tak[es] on the risk of showing ads to users”). Generally speaking, advertisers are

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1     Merrell Dow Pharms., Inc., 509 U.S. 579, 597 (1993)). The Court “enjoys broad discretion in

2     determining both how to assess reliability and whether particular testimony is reliable.” Id. (citing

3     Kumho Tire Co. Ltd. v. Carmichael, 526 U.S. 137, 151-52 (1999)). This inquiry is a “flexible”

4     one, which should be tailored to the expert testimony offered. Kumho Tire, 526 U.S at 141. Neither

5     the opposing party’s nor even the Court’s disagreement with the expert’s conclusion is a basis for

6     exclusion; the focus “must remain on the principles and methodology at issue, not the expert’s

7     conclusions.” Bautista, 2018 WL 7142094, at *1. “Shaky but admissible evidence is to be attacked

8     by cross examination, contrary evidence, and attention to the burden of proof, not exclusion.”

9     Primiano v. Cook, 598 F.3d 558, 564 (9th Cir. 2010), as amended (Apr. 27, 2010); see Alaska

10 Rent-A-Car, 738 F.3d at 969.

11 IV.        ARGUMENT

12            A.       Mr. Lasinski’s unjust enrichment models are relevant and reliable.

13            Mr. Lasinski calculates Google’s unjust enrichment using two separate models. Lasinski

14 Rep. § 7. The first measures the profits Google earned by using the at-issue data to determine the

15 impact its advertisements had on (s)WAA-off users’ behavior, a process called conversion tracking

16 and attribution. Id. § 7.1. The second measures the profits Google earned by using the at-issue data

17 to serve advertisements to (s)WAA-off users. Id. § 7.2. Google does not argue that Mr. Lasinski’s

18 models do not reliably measure the profits Google earned through those unlawful practices.

19 Instead, Google argues that it is entitled to keep its profits, no matter how unjustly it earned them.
20 Mot. 6-10. Google then criticizes Mr. Lasinski for failing to make deductions based on a

21 nonsensical alternate reality, in which Google could have made similar profits through assertedly

22 lawful means. Mot. 10-15. Neither of Google’s arguments are legally sound, and regardless,

23 Google offers no evidence capable of satisfying its burden to quantify purportedly appropriate

24 deductions from Mr. Lasinski’s determination of Google’s unjustly earned profits.

25                     1.       Disgorgement of profits is an available remedy.

26            In California, wrongdoers may not retain profits they earn when they break the law. Meister

27 v. Mensinger, 230 Cal. App. 4th 381, 398-99 (2014); Cal. Civ. Code § 3517 (enshrining as a

28 “maxim of jurisprudence” the proposition that “[n]o one can take advantage of his own wrong”).

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1     Those who “suffer[] an interference with protected interests” are entitled to the wrongdoer’s

2     profits, regardless of whether they suffered a “measurable loss.” Restatement (Third) of Restitution

3     (hereinafter, “Restatement”) § 3, rptr.’s note a (2011); see CTC Real Estate Servs. v. Lepe, 140

4     Cal. App. 4th 856, 860-61 (2006) (awarding plaintiff profits from unlawful use of identity).

5     “California law requires disgorgement of unjustly earned profits regardless of whether a

6     defendant’s actions caused a plaintiff to expend his or her own financial resources or whether a

7     defendant’s actions directly caused the plaintiff’s property to become less valuable.” Facebook

8     Tracking Litig., 956 F.3d at 600-01 (rejecting argument that unjust enrichment is not damages,

9     including for purposes of privacy and CDAFA claims, citing Lepe, supra). Indeed, the

10 “eliminati[on] of “the possibility of profit from conscious wrongdoing … is one of the cornerstones

11 of the law of restitution and unjust enrichment.” Am. Master Lease LLC v. Idanta Partners, Ltd.,

12 225 Cal. App. 4th 1451, 1486 (2014). California public policy provides for disgorgement not only

13 to “benefit[] the injured parties,” but also “deter[] improper conduct” even when that conduct is

14 “more profitable than lawful conduct.” Meister, 230 Cal. App. 4th at 399 (citation omitted).

15            In this case, Plaintiffs allege that Google unlawfully interfered with their legally protected

16 interests, namely their right to privacy (enshrined in the California Constitution and the common

17 law) and their right to prohibit others from collecting and using their devices and data (codified in

18 the CDAFA). If the factfinder agrees, Google will be required to disgorge its profits. That was the

19 result in Lepe, in which a wrongdoer armed with information about the plaintiff’s identity used the
20 plaintiff’s identity for profit. 140 Cal. App. 4th at 860-61 (cited by Facebook Tracking, 956 F.3d

21 at 600). Similarly, Google uses Plaintiffs’ devices to track and sell advertisers on the effectiveness

22 of its advertising machine. Hochman Rep. ¶¶ 280-82.

23            The Ninth Circuit has made it crystal-clear: “[U]nauthorized use of their information for

24 profit would entitle Plaintiffs to profits unjustly earned.” Facebook Tracking, 956 F.3d at 601. The

25 Ninth Circuit’s conclusion is well-grounded in the text of the CDAFA, which makes it a “public

26 offense” to “[k]nowingly access[] and without permission … take[], cop[y], or make[] use of any

27 data from a computer system.” Cal. Penal Code § 502(c)(2). It is utterly implausible that the

28 California Legislature intended for violators to retain the profits earned through the very “use” the

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1     CDAFA prohibits, especially because it granted victims a right of action to sue for “compensatory

2     damages and injunctive relief or other equitable relief.” Cal. Penal Code § 502(e)(1)2; Dreyfuss v.

3     Union Bank of Cal., 24 Cal.4th 400, 413 (2000) (describing “unjust enrichment” as “equitable

4     relief”). Hornbook law similarly allows disgorgement for invasion of privacy. Restatement § 44,

5     cmt. b (“Profitable interference with other protected interests, such as the claimant’s right of

6     privacy, gives rise to a claim [for unjust enrichment]” (emphasis added)); see also Cal. Civ. Code

7     § 1708.8(d) (statutory privacy claims allow for “disgorgement to the plaintiff of any proceeds”).

8             In asking the Court to disregard the Ninth Circuit’s clear instruction, Google invites error.

9     Mot. 9-10. Other district courts have wisely declined such invitations. In Brown v. Google, for

10 example, Judge Gonzalez Rogers held that unjust enrichment is an available remedy for CDAFA

11 claims. 2023 WL 5029899, at *6-7 (N.D. Cal. Aug. 7, 2023) (citing Facebook Tracking, 956 F.3d
           3
12 at 600). Judge Chesney held that plaintiffs asserting privacy torts, if successful, have “a right to

13 disgorgement.” Batis v. Dun & Bradstreet Holdings, Inc., 2023 WL 1870057, at *4 (N.D. Cal. Feb

14 9, 2023) (citing Facebook Tracking, 956 F.3d at 600). Judge Bashant similarly held that plaintiffs

15 asserting claims for invasion of privacy may seek disgorgement of profits. Greenley v. Kochava,

16 Inc., 2023 WL 4833466, at *4, 11-12 (S.D. Cal. Jul. 27, 2023). These judges recognized what

17 Google refuses to accept: Facebook Tracking is binding law. As in Facebook Tracking, the facts

18
      2
19      There is no textual or logical basis for Google’s assertion that the CDAFA limits compensatory
      damages “to costs incurred ‘to verify’ whether a ‘computer system’ was damaged.” Mot. 8. Under
20    Google’s interpretation, victims could recover costs incurred to determine whether their systems
      were damaged, but would be unable to recover compensation for the injury itself—a nonsensical
21    result. And if compensatory damages were meant to include only these costs, the statute’s separate
      reference to “compensatory damages” would be superfluous. Instead, the CDAFA expands the
22
      damages available beyond more common forms of injury, to also include costs incurred to confirm
23    that the wrongful conduct did not cause injury. Cal. Penal Code § 502(e)(1) (allowing recovery of
      costs to verify that computers and data were “not altered, damaged, or deleted”).
24    3
        Google’s efforts to distinguish Brown are unconvincing. Mot. 10 n.6. There is no reason a
      plaintiff’s entitlement to disgorgement would turn on whether that plaintiff had incurred costs to
25    determine whether its computers were damaged. Such costs are recoverable as compensatory
26    damages, a distinct remedy. TransUnion is consistent with Brown, because those plaintiffs, like
      these, suffered actual injuries to traditionally protected interests—not the mere risk of one. See
27    Dkt. 314-3 (Class Cert. Mot.) at 22-23. And as explained infra, any requirement to show mistake,
      fraud, coercion, or request applies when unjust enrichment is asserted as an independent cause of
28    action, not when plaintiffs seek disgorgement as a remedy for unlawful conduct.

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1     will show that Plaintiffs’ app activity data “carr[ies] financial value,” that Google took their data

2     without authorization, and that Google’s advertising business profited from its “unauthorized use

3     of [class members’] data.” 956 F.3d at 600-01. Plaintiffs are entitled to seek disgorgement.

4             Google’s principal counterargument rests on a severe misunderstanding of the law of unjust

5     enrichment. Google claims that California law requires plaintiffs seeking unjust enrichment to

6     prove their own injury, and that the defendant earned the profits at issue through mistake, fraud,

7     coercion, or request. As an initial matter, Plaintiffs have suffered injuries to their legally protected

8     interests—that is the basis of this lawsuit. More fundamentally, this standard only applies when

9     plaintiffs assert unjust enrichment as an “independent cause of action,” alternatively called quasi-

10 contract. ESG Cap. Partners, LP v. Stratos, 828 F.3d 1023, 1038-39 (9th Cir. 2016); see also

11 Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 762 (9th Cir. 2015). These requirements are

12 appropriate to ensure that the defendant’s profits were in fact unjustly acquired, and that the

13 plaintiff has a claim to them. See, Restatement § 1 cmt. b (such claims arise when the defendant

14 earned profits through “a transaction that the law treats as ineffective to work a conclusive

15 alteration in ownership rights,” even if not tortious). By contrast, when plaintiffs seek

16 disgorgement of profits as a remedy for tortious or wrongful acts—as they do here—that predicate

17 is necessarily established by the defendant’s liability. Meister, 230 Cal. App. 4th at 398-99 (“The

18 public policy of this state does not permit one to take advantage of his own wrong regardless of

19 whether the other party suffers actual damage.” (cleaned up)); see also Restatement § 44 cmt. a
20 (distinguishing restitution claims without “separately identifiable misconduct on the part of the
                                                                                            4
21 defendant”). Google’s cases involve unjust enrichment as a cause of action, not a remedy.

22            Google’s remaining arguments fare no better. First, Google suggests that Plaintiffs have

23 not suffered damage or loss sufficient to sustain a claim under the CDAFA. See Mot. 8-9 & n.5.

24
   4
     See Russell v. Walmart, Inc., 2023 WL 4341460, at *2 (N.D. Cal. Jul. 5, 2023) (“independent
25 cause of action”); Tunick v. Takara Sake USA Inc., 2023 WL 3958363, at *7 (N.D. Cal. Jun. 12,

26 2023) (“independent cause of action”); Katz-Lacabe v. Oracle Am. Inc., 2023 WL 2838118, at *10
   (N.D. Cal. Apr. 6, 2023) (Seeborg, C.J.) (dismissing “independent cause of action,” but suggesting
27 a different result where the defendant collects information “in a manner contrary to expectations
   created by the consent process”); Hart v. TWC Prod. & Tech. LLC, 2023 WL 3568078, at *5 (N.D.
28 Cal. Mar. 30, 2023) (“independent cause of action”).

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1     might have earned if it had acted lawfully). “[T]he purpose of the disgorgement remedy would be

2     eviscerated.” Id. Plaintiffs are entitled to seek disgorgement of tainted profits that Google actually

3     earned from Google’s unlawful conduct.

4             To the extent but-for profits in some way could constrain an unjust enrichment award (and

5     they do not), Google would bear the burden of quantifying the profits it might have recouped.

6     Under California law, it is on the defendant to offer “evidence of costs, expenses, and other

7     deductions to show the actual or net benefit the defendant received,” and “the residual risk of

8     uncertainty in calculating net profit is assigned to the wrongdoer.” Meister, 230 Cal. App. 4th at

9     399 (cleaned up); see also Sheldon v. Metro-Goldwyn Pics. Corp., 106 F.2d 45, 48 (2d Cir. 1939)

10 (Hand, J.) (the wrongdoer “carries the burden of disentangling the contributions of the several
                                   5
11 factors which he has confused”). Google has utterly failed to carry this burden. At most, Google

12 and its experts toss out some possible mitigating factors; they do not even claim to measure the

13 appropriate adjustments. Knittel Tr. 176:8-21, 185:18-186:4, 218:6-11 (speculating that Google’s

14 “very smart people” could “potentially think of a way” to recoup lost profits). Regardless, any

15 appropriate adjustment would not require exclusion of Mr. Lasinski’s disgorgement models, which

16 Google tacitly concedes at least calculate Google’s gross benefit from (s)WAA-off data.

17            Unsurprisingly, Google offers no authority that would justify upending these established

18 principles of unjust enrichment. Google relies heavily on Silva v. B&G Foods, in which the

19 plaintiffs sought the remedy of “restitution,” not unjust enrichment (i.e., nonrestitutionary
20 disgorgement). 2022 WL 4596615, at *2 (N.D. Cal. Aug. 26, 2022). Those plaintiffs sought

21 refunds for products they would not have purchased but for the defendant’s misrepresentations—

22 without evidence that their purchases were caused by that unlawful conduct. Id. Here, by contrast,

23 Plaintiffs seek disgorgement of profits Google earned by using data it was not authorized to collect.

24 The only other case Google cites is Looksmart Group v. Microsoft, in which the plaintiff sought

25 compensatory damages for patent infringement, in the form of a reasonable royalty. 2019 WL

26 4009263, at *3 (N.D. Cal. Aug. 5, 2019). Unjust enrichment is not even available in utility patent

27
      5
    Even though the burden is Google’s, Mr. Lasinski adjusted his calculations to account for
28 Google’s incremental costs. See Lasinski Rep. ¶¶ 84-85, 94, 106-07.

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1             B.       Mr. Lasinski’s actual damages model is relevant and reliable.

2             Mr. Lasinski’s quantification of actual damages and restitution is well-supported. Lasinski

3     Rep. ¶ 69. As explained (see Section II.C), Mr. Lasinski used an industry-recognized, market-

4     based approach, relying on market-tested evidence to reach a fair value for the at-issue (s)WAA-

5     off app activity data. Mr. Lasinski canvassed the market for real-world transactions suggesting

6     Google’s willingness to pay for app activity data, and users’ willingness to relinquish the privacy

7     of their app activity from Google. Lasinski Rep. ¶ 132. Mr. Lasinski identified four comparable

8     transactions, involving AT&T, Nielsen, a company called SavvyConnect—and Google. Id.

9     ¶¶ 132-51. Through its Screenwise program, Google actually pays users to monitor their activity.

10 Id. ¶¶ 135-42. Two particular payments stand out: Google pays users $3 per month to track their

11 activity on a mobile phone and an additional $3 per month to track their activity on a tablet. Id.

12 ¶ 141. Notably, with both devices the primary tracking activity is done over apps. Accordingly, in

13 Mr. Lasinski’s judgment, this is the most reliable evidence of Google’s willingness to pay for data

14 and users’ willingness to relinquish their privacy from Google. Id. ¶ 151. Mr. Lasinski arrives at a

15 classwide damages estimate by multiplying $3 by the number of class-member devices. Id. ¶¶ 160-

16 61. The basis of Mr. Lasinski’s opinion is no “mystery.” Mot. 20. That is how much Google itself

17 is actually willing to pay, and users are willing to accept. Google’s criticisms are theater.

18                     1.       Mr. Lasinski uses a widely accepted methodology.

19            Every day in boardrooms and courtrooms, businesspeople and experts value assets by

20 reference to payments made in real-world transactions in which a comparable asset was

21 exchanged. See Lickteig v. Cerberus Cap. Mgmt., L.P., 589 F. Supp. 3d 302, 333-34 (S.D.N.Y.

22 2022) (expert valuation based on comparable transactions was reliable); TVIIM, LLC v. McAfee,

23 Inc., 2015 WL 4148354, at *3-4 (N.D. Cal. Jul. 9, 2015) (same); Hoffman v. L&M Arts, 2013 WL

24 432771, at *12-14 (N.D. Tex. Feb. 5, 2013) (same). The International Valuation Standards Council

25 calls this the “Market Approach” and explains that “comparing the asset with identical or

26 comparable (that is[,] similar) assets for which price information is available” “provides an

27 indication of value.” Mao Ex. 10 at 34-35 (International Valuation Standards (Jan. 2022)). The

28 Organization for Economic Co-Operation and Development explains that personal data (and the

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1     choice to expose it) can be valued using observed “[m]arket prices for data.” Mao Ex. 11 at 19-20.

2     Since the days of Adam Smith, market-based analysis has been “a well-known and fundamental

3     principle used in a variety of financial calculations.” BJB Elec., 2023 WL 4849764, at *3. Google’s

4     own expert recognizes that Mr. Lasinski uses a “methodology.” See, e.g., Knittel Rep. § X

5     (repeatedly discussing “Mr. Lasinski’s methodology for calculating ‘actual damages’”).

6             Mr. Lasinski is well-qualified to perform this analysis. Mr. Lasinski is an expert in

7     valuation, finance, and accounting. Mr. Lasinski has been trusted by clients in the Internet

8     technology, wireless communications, and software industries (among many others) to perform

9     valuation analysis just like this one, in litigation and otherwise. Mr. Lasinski has successfully

10 valued consumer data, too: He offered a reliable expert opinion in Brown v. Google, and he also

11 valued a consumer data asset in the context of an acquisition. Lasinski Tr. 43:21-45:7. In this case,

12 Mr. Lasinski applied “the same level of intellectual rigor that characterizes the practice of an expert

13 in” valuation. Kumho Tire, 526 U.S. at 152. Mr. Lasinski even went further and incorporated

14 Google’s “own data,” which “show[s] how [Google’s] business work[s] in practice.” FTC v.

15 BurnLounge, Inc., 753 F.3d 878, 888-89 (9th Cir. 2014) (holding expert opinion based on such

16 data to be “relevant and reliable”). His methodology and opinion are reliable.

17                              a. Mr. Lasinski’s actual damages model is independently supported.

18            Google complains that Mr. Lasinski offered (and Judge Gonzalez Rogers accepted) a

19 similar model in Brown, 2022 WL 17961497, at *5. Give points for creativity: Rarely is a litigant
20 brave enough to argue that the acceptance of an expert’s model in one case warrants the exclusion

21 of that expert’s similar model in another. Of course, there is a reason litigants do not normally

22 feature this argument—it highlights the model’s reliability.

23            In determining whether a particular methodology is reliable, judges routinely cite to their

24 peers’ opinions in other cases, the more similar the better. And make no mistake—the data in this

25 case is quite similar to the data Mr. Lasinski valued in Brown. Like Incognito users in Brown,

26 (s)WAA-off users in this case did not give Google permission to collect their app activity. As in

27 Incognito mode, Google collects the data anyway, using its trackers embedded in third-party apps

28 (or, as in Brown, websites). To be sure, this case involves app activity rather than web history, but

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1     for these purposes that is a distinction without a difference: Apps are the primary way mobile users

2     access the internet. See Hochman Rep. ¶ 1 & n.4. Like web history, app activity data reveals a host

3     of personal information about the user, including medical history, sexual orientation, political

4     leanings, religious affiliations, and reproductive cycles. See, e.g., FAC ¶¶ 13, 227; Hochman Rep.

5     ¶¶ 188, 311; Dkt. 314-6 (“Schneier Rep.”) ¶¶ 89-99. Google argues that the data in Brown is

6     different because it is “mixed with ‘regular’ data in ‘the same logs,’” but Google neglects to

7     mention that it concealed that information until months after Mr. Lasinski issued his Brown report

8     (and even after Daubert briefing and argument concluded). Mot. 16-17.8 These mixed logs are

9     unnecessary to both the Brown model and the Brown court’s analysis. And while Google contends

10 that only the data in Brown is used for personalized advertising, Google does not explain how that

11 factored into Mr. Lasinski’s Brown opinions, nor does Google offer any citation reflecting that it
             9
12 even does. Finally, Google claims in both cases that it keeps the data at issue separate from the

13 user’s identity. See, e.g., Brown, Dkt. 908 at 9-10. The similarities dwarf the differences.

14            In light of these similarities, Mr. Lasinski has every reason to determine that the closest

15 comparator is the same in both cases. Nobody but Google would argue, for example, that one

16 house’s sale price cannot be used to estimate the value of two or more other properties in the same

17 neighborhood. Google’s own expert, Dr. Donna Hoffman, disagrees with Google’s unusual view
                                             10
18 that consistency amounts to unreliability. In any event, the relevance of any factual differences

19 between cases should be explored through cross-examination, not disqualification. Upstate Jobs
20

21    8
        See Brown v. Google LLC, No. 4:20-CV-3664-YGR (N.D. Cal.), Dkt. 521 (ordering service of
      opening expert reports by April 15, 2022); Dkt. 772 (minute entry for October 11, 2022 argument
22
      on Google’s motion to strike Mr. Lasinski’s opinions); Dkt. 844-2 at 6 (explaining that Google
23    revealed that it stores “unauthenticated” Incognito data in the same log as “authenticated” data tied
      to a Google account in response an October 27, 2022 Order to Show Cause).
24    9
        Google argued in Brown that Mr. Lasinski failed to account for personalized ads, which Google
      characterized as a “benefit.” See Brown v. Google, No. 4:20-CV-3664-YGR, Dkt. 662 at 17-18.
25    10
         When Dr. Hoffman was told significant portions of her report in this case are word-for-word
26    identical to a report she offered in another case, she was not surprised. Mao Ex. 12 (“Hoffman
      Tr.”) at 127:20-25. Dr. Hoffman explained that she would expect “fragments or sentences” to
27    appear across reports because she “ha[s] opinions that [she] ha[s] formulated,” and she has offered
      them in more than one case. Id. at 128:1-16. She explained that the same opinion “could be relevant
28    to dozens of cases,” and repeating material is just “doing [her] job.” Id. at 130:24-131:17.

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1     ascertainment of the precise damages suffered by the plaintiff, is not entitled to complain that they

2     cannot be measured with the same exactness and precision as would otherwise be possible.”); cf.

3     Raffin v. Medicredit, Inc., 2017 WL 131745, at *6 n.5 (C.D. Cal. Jan. 3, 2017) (rejecting argument

4     against class certification that was affected by the “defendant’s own destruction of records”).

5             As Mr. Lasinski explained during his deposition, at least a single $3 payment is justified

6     because the Firebase and GMA SDKs are so prevalent that it is effectively certain Google collected

7     app activity data from each (s)WAA-off mobile device during one period or another. Lasinski Tr.

8     62:6-14; see also Hochman Rep. ¶¶ 2, 59, 355-56. But without the data that Google deleted (over

9     Plaintiffs’ objection), Mr. Lasinski was not equally certain about the precise number of months

10 during which Google collected (s)WAA-off app activity data from a mobile device. Lasinski Tr.

11 61:17-62:2. See Pet Food Exp. Ltd. v. Royal Canin USA, Inc., 2011 WL 6140874, at *5 (N.D. Cal.

12 Dec. 8, 2011) (“‘mathematical precision’ is not required in calculating the extent of damages.”).

13 So Mr. Lasinski did what trustworthy experts do: He erred on the side of caution, calculating these

14 damages with only a one-time payment. Lasinski Tr. 62:3-5. Google’s suggestion that Mr. Lasinski

15 should have gotten more “creativ[e]” and that conservatism is “no rationale” at all reflects on

16 Google, not Mr. Lasinski. Mot. 18. What Google is really saying, with a straight face, is that Mr.

17 Lasinski’s actual damage opinions should be stricken because the actual damages he prescribes

18 are not high enough. If Google honestly believes a $3 payment is inadequate, that problem is easily

19 solved: Plaintiffs welcome a stipulation that Mr. Lasinski’s estimated payment should apply on a
20 per-month basis over the class period, based on class members’ (s)WAA settings. Either way,

21 Google should not be permitted to benefit even more from its deletion of data than it already has.

22                              b. Mr. Lasinski chose conservative inputs, not cherrypicked outliers.

23            California law does not demand that damages be determined with mathematical precision.

24 That is because damages calculations often involve counterfactuals, and counterfactuals create

25 uncertainty. Instead, the law asks plaintiffs to offer only a “reasonable approximation” of damages,

26 based on “some reasonable basis of computation.” Acree v. Gen. Motors Acceptance Corp., 92

27 Cal. App. 4th 385, 398 (2001). Notwithstanding that license, cautious and fair experts often resolve

28 uncertainty in the opposing party’s favor, to ensure that their opinions do not stray onto shaky

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1     ground. Even if not required for admissibility, that conservative approach strengthens the expert’s

2     opinion. See Primiano, 598 F.3d at 564 (“Shaky but admissible evidence is to be attacked by cross

3     examination, contrary evidence, and attention to the burden of proof, not exclusion.”).

4             As is his practice, Mr. Lasinski selected conservative inputs for his actual damages model.

5     Mr. Lasinski identified four real-world transactions that reflect on the value of the data at issue. In

6     addition to Google’s Screenwise Panel, Mr. Lasinski considered transactions involving AT&T,

7     Nielsen, and SavvyConnect. Lasinski Rep. ¶¶ 135-50. Each might support a higher valuation of

8     the at-issue data. See Lasinski Rep. ¶ 144 (AT&T: $29 per month); id. ¶ 149 (Nielsen: $50 per

9     year); id.at ¶ 150 (SavvyConnect: $5 per month, per device). Still, Mr. Lasinski determined the

10 most reliable indicator is the Screenwise Panel. Id. ¶ 151. As the only one involving Google itself,

11 Screenwise is the best evidence of Google’s willingness to pay and users’ willingness to divulge

12 information to Google. Lasinski Tr. 263:16-264:4. In Mr. Lasinski’s experience in valuation, the

13 seller’s demands may differ based on the identity of the buyer. Lasinski Tr. 243:19-244:10 (“That

14 happens all the time in transactions.”). The identity of the buyer matters, especially when the seller

15 has a continuing interest in the asset being sold—as sellers of personal information do. Applying

16 his expert judgment, Mr. Lasinski relied on Screenwise. And because that is the lowest-paying

17 comparable, any uncertainty is resolved in Google’s favor.

18            Google relies heavily on In re Apple iPhone Antitrust Litigation, but that case could hardly

19 be more different. 2022 WL 1284104 (N.D. Cal. Mar. 29, 2022). There, Judge Gonzalez Rogers
20 excluded an expert who selected aggressive but-for commission rates that were not supported by

21 true market evidence. Id. at *4-5 (expert relied on an unprofitable rate set as part of a “litigation

22 decision” and a briefly-discounted rate used by a “failed company” that “closed its doors less than

23 a year later”). Where McFadden cherrypicked favorable outliers divorced from market forces, Mr.

24 Lasinski looked to true market transactions and relied on the best, most conservative indicators—

25 most notably, transactions with Google. Judge Gonzalez Rogers recognized the difference: She

26 denied Google’s substantially similar Daubert motion less than nine months later. Brown, 2022

27 WL 17961497, at *5 (Mr. Lasinski’s analysis was “logical and reliable” because it uses “what

28 Google actually pays Screenwise participants,” which is a “conservative” rate).

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1             Google claims that Mr. Lasinski “didn’t even bother” reviewing comparable transactions,

2     but of course that is not true, as Google concedes in a footnote. See Mot. 19 & n.10. What Google

3     means is that Google would have identified different comparators, namely app analytics

4     companies. Mot. 19. Arguments about the “comparator” selected “go to the weight of the

5     testimony and its credibility, not its admissibility.” Alaska Rent-A-Car, 738 F.3d at 970; In re

6     NFL’s Sunday Ticket Antitrust Litig., 2023 WL 1813530, at *9 (C.D. Cal. Feb. 7, 2023); In re Juul

7     Labs, Inc., 2022 WL 1814440, at *20 (N.D. Cal. Jun. 2, 2022) (criticisms about “inputs used” “go

8     to weight, not admissibility”). Besides, app analytics companies are bad comparators. Unlike app

9     analytics companies, Google saves what we search for on the web (via Search), what videos we

10 watch (YouTube), what emails we send (Gmail), what websites we visit (Ads & Analytics), what

11 documents we save (Drive), what photos we take (Photos), and what text messages we send

12 (Messages). Calling Google an “app analytics company” is like calling Amazon a virtual

13 bookstore. Google offers no reason to believe users’ willingness to provide app activity data to

14 app analytics companies, which see only a sliver of that sensitive data, is reliable evidence of their

15 willingness to provide that data to Google, which knows so much about them—and it is doubtful,

16 as these users specifically sought to keep this data private from Google. Plus, the indirect

17 relationship between users and app analytics companies makes it difficult to reliably measure the

18 value exchanged. Lasinski Tr. 246:15-21. Google’s preferred comparators are unlikely to yield

19 “any better information” than Google’s own prices. Lasinski Tr. 246:3-14.
20            There is no basis for Google’s representation that Screenwise data is “completely

21 unrelated” to app activity data. In Screenwise, Google pays for mobile data—the great majority of

22 which is app activity data. See Hochman Rep. ¶ 1 & nn. 3-4 (87% of mobile users’ usage time

23 occurs in apps). Google uses class members’ devices in the same way here. Google’s lawyers call

24 it “record-keeping,” but a banal label cannot mask the sensitivity of the data collected. Even

25 Google recognizes that seemingly mundane data can be as revealing as melodrama. Mot. 20

26 (timestamps reveal a “melancholic pause” and the anticipation of “later regret”). If that is true of

27 Screenwise, it is also true of app activity data. Consider what it reveals about a user who makes a

28 purchase, checks a budgeting app, then returns the item; or a user who uses the Bible app every

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1             Google’s remaining arguments are easily dismissed. First, Google regurgitates its earlier

2     argument regarding comparable transactions, Mot. 19, 23, which has nothing to do with variation

3     between class members and goes only to weight. Alaska Rent-A-Car, 738 F.3d at 970. Second,

4     Google argues that Mr. Lasinski has not shown that plaintiffs have “lost money or property.” Mot.

5     25. “[L]ost money or property” is an element of statutory standing to sue under the Unfair

6     Competition Law and False Advertising Law—claims not at issue here. Compare Ji v. Naver

7     Corp., 2022 WL 4624898, at *9 (N.D. Cal. Sept. 30, 2022) (“FAL claim,” requiring “economic

8     injury”), and Bass v. Facebook, Inc., 394 F. Supp. 3d 1024, 1040 (N.D. Cal. 2019) (UCL claim,

9     requiring “lost money or property”), with Cal. Civ. Code § 1708.8(d) (providing for

10 “disgorgement” in analogous statutory privacy claims). As explained above, restitution can be

11 measured by the defendant’s “willingness to pay” or “the market value of the benefit.” Restatement

12 § 49. Regardless, users’ data “has monetary value for which they were not paid,” and the California

13 Consumer Privacy Act confers “a property interest in their data.” Brown, 2023 WL 5029899 at

14 *21.

15            Consider the audacity of Google’s position. In the ordinary course of business, Google

16 pays willing users a flat fee for data. When caught taking similar user data without permission,

17 Google suddenly believes a flat fee (and certainly its flat fee) is actually an unreasonable way to

18 compensate users for data. Google says this would not account for “the amount of data Google

19 received” from each user. Mot. 23. But recall that Google deleted the data it received from each
20 class member because, in Google’s words, “the actual data Google received … cannot possibly

21 bear on the viability of Plaintiffs’ claims or Google’s defenses.” Mao Ex. 13 at 5. To top it off,

22 Google argues that if someone is not planning to sell their data, Google can simply take it and pay

23 nothing. Google’s interest is not in getting the law right, but in getting away with robbery.

24 V.         CONCLUSION

25            For these reasons, Google’s motion to exclude Mr. Lasinski’s opinions should be denied.

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             PLAINTIFFS’ OPPOSITION TO MOTION TO EXCLUDE OPINION OF MICHAEL J. LASINSKI
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      Dated: September 7, 2023                             Respectfully submitted,
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